8:21-cr-00490-JD   Date Filed 08/16/21   Entry Number 72   Page 1 of 23
8:21-cr-00490-JD   Date Filed 08/16/21   Entry Number 72   Page 2 of 23
8:21-cr-00490-JD   Date Filed 08/16/21   Entry Number 72   Page 3 of 23
8:21-cr-00490-JD   Date Filed 08/16/21   Entry Number 72   Page 4 of 23
8:21-cr-00490-JD   Date Filed 08/16/21   Entry Number 72   Page 5 of 23
8:21-cr-00490-JD   Date Filed 08/16/21   Entry Number 72   Page 6 of 23
8:21-cr-00490-JD   Date Filed 08/16/21   Entry Number 72   Page 7 of 23
8:21-cr-00490-JD   Date Filed 08/16/21   Entry Number 72   Page 8 of 23
8:21-cr-00490-JD   Date Filed 08/16/21   Entry Number 72   Page 9 of 23
8:21-cr-00490-JD   Date Filed 08/16/21   Entry Number 72   Page 10 of 23
8:21-cr-00490-JD   Date Filed 08/16/21   Entry Number 72   Page 11 of 23
8:21-cr-00490-JD   Date Filed 08/16/21   Entry Number 72   Page 12 of 23
8:21-cr-00490-JD   Date Filed 08/16/21   Entry Number 72   Page 13 of 23
8:21-cr-00490-JD   Date Filed 08/16/21   Entry Number 72   Page 14 of 23
8:21-cr-00490-JD   Date Filed 08/16/21   Entry Number 72   Page 15 of 23
8:21-cr-00490-JD   Date Filed 08/16/21   Entry Number 72   Page 16 of 23
8:21-cr-00490-JD   Date Filed 08/16/21   Entry Number 72   Page 17 of 23
8:21-cr-00490-JD   Date Filed 08/16/21   Entry Number 72   Page 18 of 23
8:21-cr-00490-JD   Date Filed 08/16/21   Entry Number 72   Page 19 of 23
8:21-cr-00490-JD   Date Filed 08/16/21   Entry Number 72   Page 20 of 23
8:21-cr-00490-JD   Date Filed 08/16/21   Entry Number 72   Page 21 of 23
8:21-cr-00490-JD   Date Filed 08/16/21   Entry Number 72   Page 22 of 23
8:21-cr-00490-JD   Date Filed 08/16/21   Entry Number 72   Page 23 of 23
